                            IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF MARYLAND

BRYCE CARRASCO,                                *

         Plaintiff,                            *

v.                                             *      Case No.: 1:21-CV-00532-SAG

M&T BANK,                                      *

         Defendant.                            *

*        *        *         *   *      *       *      *       *       *       *      *     *

                      DEFENDANT M&T BANK’S OPPOSITION TO
                PLAINTIFF’S MOTION FOR MORE DEFINITE STATEMENT

         Defendant M&T Bank (“M&T”), through its undersigned counsel, opposes the Motion for

More Definite Statement (ECF No. 101), filed by Plaintiff Bryce Carrasco (“Plaintiff”) and, in

support thereof, states as follows:

         1.       Although Plaintiff filed his “motion” as a “Motion for More Definite Statement,”

it is actually a request for the Court to elaborate on its Letter Order, disregarding the series of

emails that Plaintiff sent directly to chambers on September 8 and 9, 2021. See ECF No. 99 (Letter

Order dated September 9, 2021).

         2.       Plaintiff’s Motion for More Definite Statement—which does not even contain a

case caption—should be denied as procedurally improper and legally deficient. Pursuant to Rule

12(e) of the Federal Rules of Civil Procedure, “[a] party may move for a more definite statement

of a pleading to which a responsive pleading is allowed but which is so vague or ambiguous that

the party cannot reasonably prepare a response.” Fed. R. Civ. P. 12(e) (emphasis added). Inasmuch

as the Court’s Letter Order is not a pleading and does not require, much less allow, a response,

Plaintiff is not entitled to the relief he seeks, and the Motion should be denied.




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         WHEREFORE, Defendant M&T Bank respectfully requests that Plaintiff’s Motion for

More Definite Statement be denied. A proposed Order is attached for the Court’s consideration.


                                            Respectfully submitted,


                                            /s/ Brian L. Moffet
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                                            Attorneys for Defendant M&T Bank


                                CERTIFICATE OF SERVICE

         I hereby certify that on September 20, 2021, I served a copy of the foregoing on the

following via ECF and via first class mail, postage prepaid:

                                            Bryce Carrasco
                                            334 Ternwing Drive
                                            Arnold, MD 21012


                                            /s/ Brian L. Moffet
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